Case 2:10-md-02179-CJB-DPC Document 11734-13 Filed 10/25/13 Page 1 of 3

EXHIBIT “L”
Case 2:10-md-02179-CJB-DPC Document 11734-13 Filed 10/25/13 Page 2 of 3

Case 4:12-cv-00989 ‘Document 1-11 Filed in TXSD on 03/30/12 Page 2 of 3

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October 5, 2011
BY ELECTRONIC MAIL AND
FIRST CLASS MAIL

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Re: Gulf Coast Claims Facility Settlement With Tidewater Marine Employee
Elton Johnson

_ Dear Mr. Laborde:

We received your October 5, 2011 letter regarding the Gulf Coast Claims Facility’s
(“GCCF”) settlement with Tidewater Marine employee Elton Johnson. The GCCF is an entity
administered by Kenneth R. Feinberg with an independent process for handling claims for cost
and damages related to the Deepwater Horizon incident. BP does not control the GCCF or the
process by which it reaches settlement decisions. BP has no influence over the decision making
of the GCCF and cannot prevent it from making settlement offers.

As you indicated in your October 5, 2011 letter, pursuant to Sections VI (A) and (B) of
the Gulf Coast Claims Facility Protocol for Interim and Final Claims, Tidewater does not have
the right to appeal the GCCF settlement decision. Moreover, BP will not appeal the GCCF’s
settlement with Mr. Johnson. However, consistent with BP’s continued willingness to cooperate
with Tidewater in the resolution of Mr. Johnson’s claim, BP encourages Tidewater to reach out

- to the GCCF directly with:any information relevant to the adjudication of Mr. Johnson’s claim.

Hong Kong London Los Angeles Munich New York Palo Alto San Francisco Shanghal Washington, D.C.
Case 2:10-md-02179-CJB-DPC Document 11734-13 Filed 10/25/13 Page 3 of 3

Case 4:12-cv-00989 Document 1-11 Filed in TXSD on 03/30/12 Page 3 of 3

KIRKLAND & ELLIS LLP

October 5, 2011
Page 2

The GCCF’s settlement with Mr. Johnson falls within the scope.of the indemnity
’ agreement between the parties and BP reserves its right to seek indemnification from Tidewater ,
for all BP funds the GCCF pays to settle Mr. Johnson’s claim.

) Please do not hesitate to call should you have any questions or would like to discuss any
issues raised in this letter.

pa so

Christopher J. Esbrook
